Case 08-14631-GMB            Doc 10    Filed 03/16/08 Entered 03/16/08 21:52:59     Desc Main
                                      Document      Page 1 of 6



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
COZEN O’CONNOR
LibertyView, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
Proposed Attorneys for the Debtors

In re:                                                   Case No. 08-

SHAPES/ARCH HOLDINGS L.L.C., et al.,                     Judge:

                 Debtors.                                Chapter: 11




                Recommended Local Form:             Followed           Modified


  APPLICATION FOR RETENTION OF EPIQ BANKRUPTCY SOLUTIONS, LLC, AS
    OFFICIAL NOTICING, CLAIMS AND/OR SOLICITATION AND BALLOTING
                       AGENT FOR THE DEBTORS


         1.      The applicants, Shapes/Arch Holdings L.L.C. (“Shapes/Arch”), Shapes L.L.C.

(“Shapes”), Delair L.L.C. (“Delair”), Accu-Weld L.L.C. (“Accu-Weld”) and Ultra L.L.C.

(“Ultra”, and with Shapes/Arch, Shapes, Delair and Accu-Weld, collectively, the “Debtors”), by

and through Steven Grabell, CEO of Shapes/Arch and Shapes, are the

          Trustee:                Chap. 7            Chap. 11           Chap. 13

          Debtors:                Chap. 11           Chap. 13

          Official Committee of

         2.      The Applicants seek to retain Epiq Bankruptcy Solutions, LLC (formerly known

as Bankruptcy Services, LLC) (“Epiq”), to serve as:

          Attorney for:           Trustee            Debtors-in-Possession


CHERRY_HILL\430933\1 077771.000
Case 08-14631-GMB            Doc 10    Filed 03/16/08 Entered 03/16/08 21:52:59              Desc Main
                                      Document      Page 2 of 6



                                   Official Committee of

         Accountant for:          Trustee              Debtor-in-Possession

                                   Official Committee of

         Other:
                                   Realtor      Appraiser              Special Counsel

                                   Auctioneer  Other (specify): official noticing, claims and/or
                                                                  solicitation and balloting agent
                                                                  for the Debtors

        3.       The employment of Epiq is necessary because: On this date, the Debtors filed

their petitions for relief under Chapter 11, Title 11 of the United States Code. The Debtors

believe that the retention of Epiq, as their claims, noticing and/or solicitation and balloting agent

is necessary to enable the Debtors to execute faithfully their duties and responsibilities in these

cases. The Debtors have approximately 2000 creditors, many of whom are located overseas.

The Debtors submit that the most effective and efficient manner of noticing these creditors and

interested parties of the filing of these Chapter 11 cases, and to transmit, receive, docket,

maintain, photocopy and input claims, is for the Debtors to engage an independent third party to

act as an agent of the Court.

        4.       Epiq has been selected because: The Debtors believe that Epiq is well qualified to

serve in this capacity and that its retention is in the best interests of the Debtors’ estates and their

creditors. The Debtors chose Epiq based on both its experience and the competitiveness of its

fees. Epiq is a firm that specializes in noticing, claims processing and other administrative tasks

in Chapter 11 cases. Epiq has acted as official claims, noticing, solicitation and/or balloting

agent in numerous cases for a number of years in this and other districts. Included among such

cases in the District of New Jersey are the following:




                                                   2
CHERRY_HILL\430933\1 077771.000
Case 08-14631-GMB            Doc 10     Filed 03/16/08 Entered 03/16/08 21:52:59             Desc Main
                                       Document      Page 3 of 6



                 (a)     GI Holdings Inc., et al., (f/k/a GAF Corporation), No. 01-30135 (RG)
                         (Bankr. D.N.J.); and

                 (b)     Le Gourmet Chef, Inc., et al., No. 06-17364 (DHS) (Bankr. D.N.J.)

        5.       The services to be rendered are as follows:

                 (a)     Preparing and serving required notices in these Chapter 11 cases,
                         including:

                                  1.     A notice of the commencement of these Chapter 11 cases
                                         and the initial meeting of creditors under § 341(a) of the
                                         Bankruptcy Code;

                                  2.     A notice of the claims bar date;

                                  3.     Notices of objections to claims;

                                  4.     Notices of any hearings on a disclosure statement and
                                         confirmation of a plan of reorganization; and

                                  5.     Such other miscellaneous notices as the Debtors or Court
                                         may deem necessary or appropriate for an orderly
                                         administration of these Chapter 11 cases.

                 (b)     Within five (5) business days after the service of a particular notice, filing
                         with the Clerk’s Office a certificate or affidavit of service that includes (i)
                         a copy of the notice served, (ii) an alphabetical list of persons on whom
                         the notice was served, along with their addresses, and (iii) the date and
                         manner of service;

                 (c)     Maintaining copies of all proofs of claims and proofs of interest filed in
                         these cases;

                 (d)     Maintaining official claims registers in these cases by docketing all proofs
                         of claim and proofs of interest in a claims database that includes the
                         following information for each such claim or interest asserted:

                                  1.     The name and address of the claimant or interest holder and
                                         any agent thereof, if the proof of claim or proof of interest
                                         was filed by an agent;

                                  2.     The date the proof of claim or proof of interest was
                                         received by Epiq and/or the Court;

                                  3.     The claim number assigned as to the proof of claim or
                                         proof of interest; and



                                                    3
CHERRY_HILL\430933\1 077771.000
Case 08-14631-GMB            Doc 10     Filed 03/16/08 Entered 03/16/08 21:52:59            Desc Main
                                       Document      Page 4 of 6



                                  4.     The asserted amount and classification of the claim;

                 (e)     Implementing necessary security measures to ensure the completeness and
                         integrity of the claims register;

                 (f)     Transmitting to the Clerk’s Office a copy of the claims register on a
                         weekly basis, unless requested by the Clerk’s Office on a more or less
                         frequent basis;

                 (g)     Maintaining an up-to-date mailing list for all entities that have filed proofs
                         of claim or proofs of interest and make such list available upon request to
                         the Clerk’s Office or any party in interest;

                 (h)     Providing access to the public for examination of copies of the proofs of
                         claim or proofs of interest filed in these cases without charge during
                         regular business hours;

                 (i)     Recording all transfers of claims pursuant to Bankruptcy Rule 3001(e)
                         and, if directed to do so by the Court, provide notice of such transfers as
                         required by Bankruptcy Rule 3001(e);

                 (j)     Complying with applicable federal, state, municipal and local statutes,
                         ordinances, rules, regulations, orders and other requirements;

                 (k)     Providing temporary employees to process claims as necessary;

                 (l)     Complying with such further conditions and requirements as the Clerk’s
                         office or the Court may at any time prescribe;

                 (m)     Providing such other claims processing, noticing, balloting, and related
                         administrative services as may be requested from time to time by the
                         Debtors; and

                 (n)     Assisting the Debtors, at their request, with, among other things, (i) the
                         reconciliation and resolution of claims; (ii) the preparation, mailing and
                         tabulation of certain creditors for the purpose of voting to accept or reject
                         the plan of reorganization; and (iii) all other matters for which the Debtors
                         request assistance.

        6.       The proposed arrangement for compensation is as follows: Epiq has requested

and received a retainer of $25,000. The Debtors request that the fees and expenses of Epiq

incurred in the performance of the above services be treated as an administrative expense of the

Debtors’ estates and should be paid by the Debtors in the ordinary course of business. In Epiq’s

experience other claims and balloting agents have reviewed fee and rate statements in cases in

                                                   4
CHERRY_HILL\430933\1 077771.000
Case 08-14631-GMB            Doc 10    Filed 03/16/08 Entered 03/16/08 21:52:59              Desc Main
                                      Document      Page 5 of 6



which they were not retained. Because of the negotiated rates provided to the Debtors, Epiq’s

rates and fees are not attached. Epiq, however, will provide its rates and fees to the Court or the

United States Trustee upon request. The Debtors believe that the fees to be charged by Epiq for

its services in connection with the noticing, soliciting, balloting and claims processing efforts are

competitive and comparable to the rates charged by its competitors.

        7.       To the best of the applicants’ knowledge, Epiq’s connection with the debtors,

creditors, any other party in interest, their respective attorneys and accountants, the United States

trustee, or any person employed in the office of the United States trustee, is as follows:

         None
         Describe connection:

        8.       To the best of the applicant’s knowledge, Eqiq (check all that apply):1

         does not hold an adverse interest to the estate.

         does not represent an adverse interest to the estate.

         is a disinterested person under 11 U.S.C. § 101(14).

         does not represent or hold any interest adverse to the debtors or the estates with respect
          to the matter for which he/she will be retained under 11 U.S.C. § 327(e).
         Other; explain:

        9.       If the professional is an auctioneer, appraiser or realtor, the location and

description of the property is as follows: N/A




1
 The Debtors seek to retain Epiq pursuant to 28 U.S.C. § 156(c) and believe that Epiq is not a
professional under 11 U.S.C. § 327(a). To the extent that the Court considers Epiq a
professional, the Debtors submit that it meets the standards for retention under 11 U.S.C.
§ 327(a) or (e).

                                                    5
CHERRY_HILL\430933\1 077771.000
Case 08-14631-GMB   Doc 10    Filed 03/16/08 Entered 03/16/08 21:52:59   Desc Main
                             Document      Page 6 of 6
